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EXHIBIT C
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Marissa Carter, Evelyn Grys, Bruce Currier,
Sharon Koning, Sue Beehler, Marsha Mancuso,
and Jaclyn Cuthbertson, as individuals

and as representatives of the classes,

Plaintiffs,
vs.
CIOX Health, LLC f/k/a HealthPort Technologies,
LLC, the Rochester General Hospital, the Unity
Hospital of Rochester, and F.F. Thompson
Hospital, Inc.,

Defendants.

Case No.: 6:14-CV-06275-FPG

NOTICE OF DEPOSITION OF
LORI REEL

TO: DEFENDANT CIOX HEALTH, LLC AND ITS ATTORNEYS OF RECORD

PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal Rules of Civil
Procedure, Plaintiffs will take the deposition of Lori Reel on March 20, 2018, beginning at
12:00 p.m. and continuing thereafter by adjournment until completed. The deposition will take
place before a qualified court reporter at Faraci Lange LLP, 28 East Main Street, Suite 1100,
Rochester, NY 14614. In connection with this Notice of Deposition, Defendant is requested to
produce, within 30 days of this Notice, all documents and tangible things authored by,
received by, copied to, or in the possession of Ms. Reel that are responsive to Plaintiffs’

Requests for Production of Documents (to the extent that such documents have not already

been produced).
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Dated: January 23, 2018

NICHOLS KASTER, PLLP

: /s/ Kai H. Richter

Kai H. Richter, MN Bar #0296545*
Mark E. Thomson, MN Bar #0398260*
*Admitted generally to W.D.N.Y.
4600 IDS Center

80 South Eighth Street

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FARACI LANGE LLP

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Telephone: (585) 325-5150

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ATTORNEYS FOR PLAINTIFFS
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Marissa Carter, Evelyn Grys, Bruce Currier,

Sharon Koning, Sue Beehler, Marsha Mancuso,

and Jaclyn Cuthbertson, as individuals Case No.: 6:14-CV-06275-FPG
and as representatives of the classes,

Plaintiffs, AMENDED NOTICE OF
DEPOSITION OF LORI REEL
VS.

CIOX Health, LLC f/k/a HealthPort Technologies,
LLC, the Rochester General Hospital, the Unity
Hospital of Rochester, and F.F. Thompson
Hospital, Inc.,

Defendants.

TO: DEFENDANT CIOX HEALTH, LLC AND ITS ATTORNEYS OF RECORD

PLEASE TAKE NOTICE THAT, pursuant to Rule 30(b)(1) of the Federal Rules of Civil
Procedure, Plaintiffs will take the deposition of Lori Ree! on April 13, 2018, beginning at 9:00
a.m. and continuing thereafter by adjournment until completed. The deposition will take place
before a qualified court reporter at Burr & Forman LLP, 171 17th Street NW, Suite 1100,
Atlanta, GA 30363. In connection with this Notice of Deposition, Defendant is requested to
produce, within 30 days of this Notice, all documents and tangible things authored by,
received by, copied to, or in the possession of Ms. Reel that are responsive to Plaintiffs’
Requests for Production of Documents (to the extent that such documents have not already

been produced).
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Dated: February 26, 2018

NICHOLS KASTER, PLLP

: /s/ Kai H. Richter

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